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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      (at London)

  UNITED STATES OF AMERICA,                          )
                                                     )
          Plaintiff,                                 )         Criminal Action No. 6:20-cr-23-CHB
                                                     )
  v.                                                 )
                                                     )          ORDER ADOPTING
  RICHARD SCOTT SMITH,                               )        RECOMMENDATION OF
                                                     )     ACCEPTANCE OF GUILTY PLEA
          Defendant.                                 )

                                        ***    ***       ***     ***
        This matter is before the Court on the Recommendation of Acceptance of Guilty Plea

filed by United States Magistrate Judge Hanly A. Ingram [R. 40]. The recommendation

instructed the parties to file any specific written objections within three days after being served

with the decision, or else waive the right to further review. Id. at 3. Neither party has objected to

the Magistrate’s recommendation, and the time to do so has now passed. Defendant did file a

consent to plead before the United States Magistrate Judge [R. 38]. Upon review, the Court is

satisfied that Defendant Richard Scott Smith did knowingly and competently plead guilty to the

charged offenses and that an adequate factual basis supports the plea as to each essential element

of the offenses charged.

       Accordingly, IT IS HEREBY ORDERED as follows:

               1. Judge Ingram’s Recommendation of Acceptance of Guilty Plea [R. 40] is

                   ADOPTED as and for the Opinion of the Court;

               2. Defendant Richard Scott Smith is ADJUDGED guilty of Counts 1 and 2 of

                   the Indictment [R. 9];




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             3. The Defendant’s jury trial and all other pre-trial proceedings are now

                 CANCELLED and shall be STRICKEN from the Court’s docket; and

             4. A Sentencing Order shall be entered promptly.

      This the 16th day of October, 2020.




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